
13 N.Y.2d 886 (1963)
In the Matter of Salvatore Tricario, Sr., Appellant,
v.
James M. Power et al., Constituting the Board of Elections of the City of New York, and Frederick Irizarry et al., Respondents.
Court of Appeals of the State of New York.
Argued August 30, 1963.
Decided August 30, 1963.
Anthony J. Graziano for appellant.
Max Feigin for Frederick Irizarry and another, respondents.
Concur: Chief Judge DESMOND and Judges DYE, FULD, BURKE and SCILEPPI. Judges VAN VOORHIS and FOSTER dissent as to Jacqueline Foster Herring only and vote as to her to reverse the order of the Appellate Division and to reinstate the order of Special Term. Section 138-a of the Election Law does not relate to surnames and paragraph (3) of subdivision 2 of section 412 of the Election Law contemplates that a married woman must go either under her maiden name or her married name and not use these interchangeably in situations of this nature. Interchanging these names may frustrate the purpose of section 135 of the Election Law.
Order affirmed, without costs; no opinion.
